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                      EXHIBIT 21
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                                                  Smith-Charlton, Cindy (Smith) rough transcript 10/3/2007 9:14:00 AM
                                                                1                                                                          -

   1   CASE:                                                                  IN THE UNITED STATES DISTRICT COURT
   2                                                                           FOR THE DISTRICT OF MASSACHUSETTS
   3   DEPOSITION OF:                                                     IN RE: NEURONTIN MARKETING, SALES )
   4   DATE:               , 2003                                         PRACTICES AND PRODUCTS LIABILITY )
   5                                                                      LITIGATION                   )
   6                 IMPORTANT NOTICE                                                            )
   7    PLEASE READ BEFORE USING REALTIME ROUGH DRAFT                     __________________________                       )
   8             AGREEMENT OF PARTIES                                                            )
   9        WORKING WITH REALTIME ROUGH DRAFTS
                                                                                                 )
  10
                                                                                                 ) CASE NO.
  11        We, the party working with the realtime
                                                                                                 ) 04-10981
  12   and rough draft transcripts, understand that if we
                                                                          THIS DOCUMENT RELATES TO:                            )
  13   choose to use the realtime rough draft screen or
                                                                                                 )
  14   printout, we are doing so with the understanding
                                                                          RUTH SMITH, Individually and as              )
  15   that the rough draft is an uncertified copy.
                                                                          Widow for the use and benefit of )
  16        We further agree not to share, give, copy,
                                                                          herself and the next of kin of       )
  17   scan, fax, or in any way distribute this realtime
                                                                          Richard Smith, deceased.                 )
  18   rough draft in any form (written or computerized)
                                                                                                 )
  19   to any party. However, our own experts,
                                                                          05-CV-11515                      )
  20   co-counsel, and staff may have limited internal
  21   use of same, with the understanding that we agree                                         )

  22   to destroy our realtime rough draft and/or any                        VIDEOTAPED DEPOSITION OF

  23   computerized form, if any, and replace it with the                    CINDY SMITH-CHARLTON

  24   final transcript upon its completion.                                 Taken on Behalf of the Defendant
  25                                                                         October 3, 2007



                                                                2                                                                          4

   1                 REPORTER'S NOTE                                 1    APPEARANCES:
                                                                     2    For the Plaintiff:
   2
                                                                     3         MAURA C. KOLB
   3        Since this deposition has been realtimed                           KENNETH S. SOH
   4   and is in rough draft form, please be aware that              4         Lanier Law Firm
                                                                               6810 F.M. 1960 West
   5   there may be discrepancies regarding page and line            5         Houston, Texas 77069
   6   number when comparing the realtime screen, the                          713.659.5200
                                                                     6         713.659.6416
   7   rough draft, rough draft disk, and the final                            wml@lanierlawfirm.com
   8   transcript.                                                   7         kss@lanierlawfirm.com
                                                                               mck@lanierlawfirm.com
   9        Also please be aware that the realtime
                                                                      8
  10   screen and the uncertified rough draft transcript              9   For the Defendant:
                                                                     10        KENNETH J. FERGUSON
  11   may contain untranslated steno, reporter's notes,
                                                                               Clark, Thomas & Winters
  12   FLAG or SPELL strokes, or nonsensical English word            11        P.O. Box 1148
  13   combinations. All such entries will be corrected                        Austin, Texas 78767
                                                                     12        512.472.8800
  14   on the final, certified transcript.                                     512.474.1129
  15                                                                 13         kjf@ctw.com
                                                                     14        ANGELA SEATON
  16                                                                           Shook, Hardy & Bacon
  17                                                                 15        2555 Grand Boulevard
                                                                               Kansas City, Missouri 64108-2613
  18                                                                 16        816.474.6550
  19                                                                           aseaton@shb.com
                                                                     17
  20
                                                                     18   Also Present: Andrew Langsdon, Videographer
  21                                                                 19
  22                                                                 20
                                                                     21
  23                                                                 22
  24                                                                 23
                                                                     24
  25                                                                 25




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                                                                13                                                                     15

   1   A.    Please ask that again.                                   1    Q.    Yes, ma'am.
   2   Q.    Are you -- do you have any -- any                        2    A.    An estimate of approximately six.
   3   knowledge as to whether or not your sisters or                 3    Q.    Six boxes?
   4   mother have pill bottles, for example?                         4    A.    Yes.
   5   A.    No.                                                      5    Q.    And, again, I apologize if I already asked
   6   Q.    And what I'm trying to determine is, have                6    this. But are any of those boxes unopened?
   7   you ever asked your mother or sisters if they have             7    A.    I don't know.
   8   any -- any pill bottles or any items related to --             8    Q.    And there are also unopened blister packs
   9   to the medications that your father was taking in              9    as far as you know; is that correct?
  10   the year prior to his death?                                   10   A.    Yes.
  11   A.    And your question is, have I asked them?                 11   Q.    And have you physically seen these --
  12   Q.    Yes, ma'am.                                              12   these boxes and unopened blister packs?
  13   A.    Yes.                                                     13   A.    Yes.
  14   Q.    Okay. And what did they respond? Do you                  14   Q.    And where are they currently, as far as
  15   want me to restate it? And I apologize for                     15   you know?
  16   interrupting your thought.                                     16   A.    My mother has them.
  17   A.    You're welcome to restate it.                            17   Q.    At her home?
  18   Q.    Okay. You indicated you had asked your                   18   A.    I believe so.
  19   sisters and mother whether they had pill bottles               19   Q.    Other than the -- the boxes and blister
  20   or medications related that your father was taking             20   packs that we just discussed, to your knowledge,
  21   in the year prior to his death. Let me ask you                 21   your mother doesn't have any other medication
  22   first, did you ask your mother that question?                  22   bottles in her possession or medication in her
  23   A.    Yes.                                                     23   possession that your father was taking in the year
  24   Q.    Okay. And what did she respond?                          24   prior to his death?
  25   A.    She has samples in her possession.                       25   A.    That is correct.



                                                                14                                                                     16

   1   Q.    Okay.                                                    1    Q.    And do you -- to your knowledge do any of
   2   A.    She does not have prescription bottles in                2    your sisters -- and I'll group them rather than
   3   her possession.                                                3    ask them individually, if that's okay. Do any of
   4   Q.    And do you know what she has done with                   4    your sisters have any boxes or blister packs, to
   5   those samples? Has she kept them or given them to              5    your knowledge?
   6   her attorneys, if you know?                                    6    A.    No.
   7   A.    She has kept them.                                       7    Q.    The -- the third item that was requested
   8   Q.    Okay. And do you know how many of those                  8    by way of documents were letters, notes, or
   9   there are?                                                     9    e-mails that you may have received from -- from
  10   A.    How many -- clarify how many --                          10   your father in the year prior to his death. Do
  11   Q.    Sure.                                                    11   you have any documents like that?
  12   A.    How many of what?                                        12   A.    No.
  13   Q.    Tell me what you understand she has.                     13   Q.    Did you communicate by e-mail with your
  14   A.    She has some sample boxes. There are                     14   father ever?
  15   blister packs in the boxes. I do not know the                  15   A.    No.
  16   quantity.                                                      16   Q.    Did he have an e-mail account that he
  17   Q.    Okay. Do you know whether it's more than                 17   could have communicated with?
  18   one box?                                                       18   A.    No.
  19   A.    I knows the more than one box.                           19   Q.    Does your mother have an e-mail account
  20   Q.    Are they unopened boxes?                                 20   that she used?
  21   A.    The boxes have been opened, but the                      21   A.    Yes.
  22   blister packs remained sealed.                                 22   Q.    Okay. And did your father ever use her
  23   Q.    And you don't have any estimate as to how                23   e-mail account to -- to e-mail you?
  24   many boxes?                                                    24   A.    No.
  25   A.    An estimate?                                             25   Q.    With regard to letters or notes from your




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   1            MR. FERGUSON: Sorry.                                    1    A.    Yes.
   2   BY MR. FERGUSON:                                                 2    Q.    Any other medications that you're aware
   3   Q.    At any time up until the time you drove                    3    that he was taking for his pain?
   4   away, did you and your family talk at all about                  4    A.    Not that I recall.
   5   what had happened at Dr. Mackey's office?                        5    Q.    How about even including any overthe
   6   A.    No.                                                        6    counter medications, Advil, Tylenol, anything like
   7   Q.    Did anyone express either frustration that                 7    that? Were you aware of him taking
   8   he didn't offer other solutions, or happiness that               8    over-the-counter medication as well?
   9   he prescribed medication? Anything good or bad                   9    A.    Advil perhaps.
  10   that anyone said regarding what had occurred at                  10   Q.    And how were you aware that he took
  11   Dr. Mackey's office?                                             11   hydrocodone or Flexeril?
  12   A.    Not that I remember.                                       12   A.    He or mother told me.
  13   Q.    Did you at any time in the -- that day or                  13   Q.    Do you have any knowledge from your mother
  14   the days or weeks following go do any research on                14   or your father as to when the prescription for
  15   Neurontin and look at -- look at the Internet,                   15   Neurontin on March 9 was actually filled, when he
  16   look at any sources for what Neurontin was, what                 16   picked up the prescription?
  17   it could, could not do, anything like that?                      17   A.    Mother said she picked it up that
  18   A.    No.                                                        18   afternoon.
  19   Q.    Do you -- do you know if any of your                       19   Q.    Do you know whether, in fact, your father
  20   sisters did that?                                                20   took the Neurontin that was prescribed on that day
  21   A.    I don't know.                                              21   and picked up by your mother on the afternoon of
  22   Q.    Okay. Did you tell your sisters -- well,                   22   March 9?
  23   let me ask you this, when you go to -- go to an                  23   A.    I believe he did.
  24   appointment like this or when you went, did you                  24   Q.    Okay. And tell me why you believe that he
  25   report what had happened to your sisters?                        25   took it. In other words, what information do you



                                                                  78                                                                      80

   1   A.    It's possible, but I don't recall.                         1    have that indicates to you that he, in fact, took
   2            MR. FERGUSON: Okay. Why don't we                        2    that -- that Neurontin?
   3   take five-minute break if you don't mind. Is that                3    A.    I believe Mother and Dad both told me that
   4   okay, ma'am?                                                     4    he -- he took it.
   5            THE WITNESS: Uh-huh.                                    5    Q.    And did they tell you how often he took
   6            THE VIDEOGRAPHER: We are now going                      6    it?
   7   off the record, time on the monitor is 11:05.                    7    A.    No.
   8            (Brief recess observed.)                                8    Q.    Did they tell you whether or not he took
   9            THE VIDEOGRAPHER: We're now coming                      9    it as prescribed or as needed or -- or what, if
  10   back on the record. Time on the video monitor is                 10   you know?
  11   11:21.                                                           11   A.    No.
  12   BY MR. FERGUSON:                                                 12   Q.    Do you know whether at the time of your
  13   Q.    We've talked about some of the conditions                  13   father's death there were any Neurontin capsules
  14   that your -- your father had that -- that caused                 14   left from that bottle from March 9 of 2004?
  15   pain. Other than the Neurontin that was                          15   A.    I don't know.
  16   prescribed on March 9 that we've just talked                     16   Q.    Don't know one way or the other?
  17   about, are you aware of any other pain medications               17   A.    That's correct.
  18   that your father was on, say during the last                     18   Q.    Other than that prescription on March 9,
  19   couple of years during his life?                                 19   2004, are you aware of your father having acquired
  20   A.    Yes.                                                       20   Neurontin from any other source, other than the
  21   Q.    Okay. What other pain medications are                      21   Eckerds prescription on March 9 that we've talked
  22   those that you're aware that he was taking?                      22   about?
  23   A.    I knew that he took hydrocodone when                       23   A.    I understood he had samples.
  24   prescribed, and he took Flexeril when prescribed.                24   Q.    And how did you understand that?
  25   Q.    Hydrocodone and Flexeril?                                  25   A.    I saw them on the file cabinet at his




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   1   home.                                                            1    referring to as a blister pack?
   2   Q.      And when did you see samples on the filing               2    A.    Yes.
   3   cabinet at his home?                                             3    Q.    Did you ever see any blister packs of
   4   A.    I don't know the exact dates.                              4    Neurontin outside of the boxes in your father's
   5   Q.      Sure. I mean, that's -- that's fair. Did                 5    house? Excuse me.
   6   you see these prior to your father's death or                    6    A.    Thank you. No.
   7   after your father's death?                                       7    Q.    The several boxes that you saw on the
   8   A.    Prior to his death.                                        8    filing cabinet, were they unopened or opened, if
   9   Q.      Did you see these after the March 9, 2004,               9    you know?
  10   visit with Dr. Mackey or before?                                 10   A.    They appeared closed.
  11   A.    I don't know precisely.                                    11   Q.    Did they appear closed and seals or just
  12   Q.      Okay. And I understand you don't know                    12   closed, if you know what I'm saying?
  13   precisely. But you can't recall whether it's                     13   A.    I don't remember.
  14   after the March 9 or before?                                     14   Q.    Okay. Where is this filing cabinet that
  15   A.    That's correct.                                            15   you're referring to?
  16   Q.      And tell me what you saw. You said you                   16   A.    In his office.
  17   saw samples. What did they look like?                            17   Q.    Okay. And -- and let me digress a minute
  18   A.    They were boxes, either -- I believe                       18   here and just get a little -- a little geography
  19   purple, perhaps a dark blue.                                     19   of your parents' house.
  20   Q.      Okay. And how large are these boxes?                     20   A.    Okay.
  21   A.    About the height of your cup.                              21   Q.    The -- the office -- well, when you walk
  22   Q.      Okay.                                                    22   in the front door of the house on Janie Avenue, is
  23   A.    Four or five inches perhaps.                               23   there a living area, a den, something like that?
  24   Q.      Sounds like a good estimate.                             24   A.    When you walk in the front door, there's a
  25   A.    That's an estimate.                                        25   small foyer; to the right is a living room.



                                                                  82                                                                     84

   1   Q.      So four or five inches high. And how                     1    Q.    And is the office on that ground floor?
   2   wide?                                                            2    A.    Yes.
   3   A.    I would guess two inches square, perhaps.                  3    Q.    Is there a second floor to the house?
   4   Q.      And I take it there's writing on this box?               4    A.    Yes.
   5   Do you -- is that correct?                                       5    Q.    Okay. And what is in the office? Is
   6   A.    Clarify, Ken.                                              6    there a desk in the office?
   7   Q.      Sure. Was there any writing on the box?                  7    A.    There's a desk in the office, some file
   8   A.    Do you mean handwriting?                                   8    cabinets, and some book shelves.
   9   Q.      No, ma'am. That's fair -- fair comment.                  9    Q.    And is that office off of the living room?
  10        Was there any printed information on the                    10   A.    No.
  11   box that you recall?                                             11   Q.    Okay. What -- what room does the office
  12   A.    I recall seeing the words Neurontin.                       12   adjoin?
  13   Q.      Do you recall seeing anything else?                      13   A.    The kitchen.
  14   A.    No, not specifically.                                      14   Q.    Do you recall if there were any other
  15   Q.      And at -- whenever it was that you saw                   15   medications on the filing cabinet that was in the
  16   these samples or boxes on the filing cabinet, how                16   office? In other words, when you saw this, these
  17   many boxes did you see?                                          17   boxes of samples that you have told us about, were
  18   A.    Several, but I don't remember the exact                    18   there any other medications in the same area
  19   amount.                                                          19   ^FLAG?
  20   Q.      Do you -- did you ever look at them to see               20   A.    Not that I recall.
  21   what was in the boxes?                                           21   Q.    Now, did your father have a bedroom
  22   A.    No.                                                        22   downstairs?
  23   Q.      Did you ever see what I'll call a blister                23   A.    Yes.
  24   pack, which is something like you might see a cold               24   Q.    And your mother had a bedroom upstairs,
  25   medication in that -- do you know what I'm                       25   correct?




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